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             UNITED STATES COURT OF INTERNATIONAL TRADE
          BEFORE: THE HONORABLE LEO M. GORDON, SENIOR JUDGE


                                    _______
VANDEWATER INTERNATIONAL, INC.             )
                                           )
             Plaintiff,                    )
                                           )
         and                               )
                                           )
SIGMA CORPORATION and SMITH-COOPER         )
INTERNATIONAL, INC.                        )
                                           )     Court No. 18-00199
                                           )
             Plaintiff-Intervenors,        )
v.                                         )
                                           )
UNITED STATES                              )
                                           )
                                           )
             Defendant,                    )
                                           )
     and                                   )
                                           )
ISLAND INDUSTRIES,                         )
                                           )
             Defendant-Intervenor.         )
                                    ______ )


                    DEFENDANT-INTERVENOR’S RESPONSE TO
                     COMMENTS ON THE REMAND RESULTS


                                         Matthew J. McConkey

                                         MAYER BROWN LLP
                                         1999 K Street, NW
                                         Washington, DC 20006
                                         (202) 263-3235

                                         Counsel for Island Industries


Dated: January 21, 2021
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I.      INTRODUCTION

        Unquestionably, the U.S. Department of Commerce (“Commerce”) has fully complied

with this Court’s order “to conduct a scope inquiry to evaluate the factors under (k)(2).” See

Vandewater International, Inc. v. United States, Court No. 18-00199, Slip Op. 20-146 (Ct. Int’l

Trade October 16, 2020) (“Remand Order”). Plaintiff and Plaintiff-Intervenors continue to raise

alleged differences between their “steel branch outlets” and carbon steel butt-weld pipe fittings

(“BWPF”) that are legally and, even if true,1 factually inconsequential, and do not change the

fact that their steel branch outlets are “sufficiently similar” to the products unambiguously

covered by the antidumping duty order on BWPF from the People’s Republic of China. See

Wirth v. United State., 5 F. Supp. 2d 968, 981 (Ct. Int’l Trade 1998). Indeed, after carefully

considering the extensive comments filed by Plaintiff and Plaintiff-Intervenors, and all the

evidence on the record in light of the (k)(2) factors, Commerce’s Remand Redetermination

finding that the steel branch outlets imported by Vandewater International, Inc. (“Vandewater”)

fall within the scope of the BWPFs Order is reasonable, supported by substantial evidence on the

record and in accordance with law. See Antidumping Duty Order and Amendment to the Final

Determination of Sales at Less Than Fair Value; Certain Carbon Steel Butt-Weld Pipe Fittings

from the People’s Republic of China, 57 Fed. Reg. 29,702 (July 6, 1992) (“Order”).

II.     BACKGROUND

        On September 10, 2018, Commerce found in a Final Scope Ruling that the steel branch

outlets imported by plaintiff Vandewater fall within the scope of antidumping order on Chinese

BWPF based on an analysis of the sources set forth in 19 C.F.R. 351.225(k)(1). See Order.

However, on appeal, the U.S. Court of International Trade (“CIT”) held that it was unreasonable


1
        For example, Island submits that Plaintiff’s assertion that the steel branch outlets at issue conform
to the Manufacturers Standardization Society SP-97 standard is untrue.


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for Commerce to find that the (k)(1) sources were dispositive to determine whether the steel

branch outlets were covered by the BWPFs Order. See Remand Order. The CIT accordingly

ordered Commerce to conduct an analysis under the additional factors set forth in 19 C.F.R.

351.225(k)(2). Id.

       Pursuant to the Remand Order, Commerce initiated its scope inquiry and reopened the

record on October 30, 2020. See Letter from Robert Galantucci, U.S. Dep’t of Commerce,

“Initiation of Scope Inquiry” (October 30, 2020). After exhaustively reviewing the comments

and new factual information submitted by interested parties, including Vandewater, Island

Industries (“Island”), Smith-Cooper International (“SCI”), and SIGMA Corporation (“SIGMA”),

Commerce issued its Final Results of Redetermination Pursuant to Court Remand on July 23,

2021, continuing to find that the steel branch outlets are covered by the BWPFs Order. See

generally Final Results of Redetermination Pursuant to Court Remand, ECF No. 112 (“Remand

Redetermination”). On September 24, 2021, Vandewater, SCI and SIGMA filed their comments

in opposition to the Remand Redetermination. Comments of Vandewater International Inc. in

Opposition to Commerce’s Remand Redetermination Pursuant to Court Remand, ECF No. 138;

Comments of Smith-Cooper International in Opposition to Commerce’s Remand

Redetermination Pursuant to Court Remand, ECF No. 134; Comments of SIGMA Corporation in

Opposition to the Final Results of Redetermination Pursuant to Court Remand, ECF No. 132.

Defendant United States addressed in detail Vandewater, SCI and SIGMA’s comments in its

response dated January 11, 2022 – a response fully supported by Island. Defendant’s Response

to Comments on the Remand Results, ECF No. 144.

III.   STANDARD OF REVIEW

       In its own Remand Order, this Court acknowledged that it must sustain Commerce’s

“determinations, findings, or conclusions” unless they are “unsupported by substantial evidence


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on the record, or otherwise not in accordance with law.” Remand Order at 2-3. This Court also

acknowledged that substantial evidence is “something less than the weight of the evidence, and

the possibility of drawing two inconsistent conclusions from the evidence does not prevent an

administrative agency’s finding from being supported by substantial evidence.” Consolo v. Fed.

Mar. Comm'n,, 383 U.S. 607, 620, (1966). In sum, the court “assesses whether the agency action

is reasonable given the record as a whole.” Nippon Steel Corp. v. United States, 458 F.3d 1345,

1350-51 (Fed. Cir. 2006); see also Universal Camera Corp. v. NLRB, 340 U.S. 474, 488 (1951).

       When reviewing Commerce’s determinations on antidumping order scope ruling matters,

the Court grants “significant deference to Commerce’s interpretation of a scope order” and

accordingly, “parties challenging Commerce’s scope determinations under substantial evidence

review confront a high barrier to reversal.” Mid Continent Nail Corp. v. United States, 725 F.3d

1295, 1300 (Fed. Cir. 2013); United Steel and Fasteners Inc. v. United States, 947 F.3d 794, 798

(Fed. Cir. 2020)(citing King Supply Co. LLC v. United States, 674 F.3d 1343,1348 (Fed. Cir.

2012)). In particular, for purposes of a k(2) analysis, for a product to be covered by the scope of

an order, all the law requires is for the product to be “sufficiently similar” to the products

unambiguously covered by the Order. Wirth at 981.

IV.    COMMERCE’S DETERMINATION THAT THE STEEL BRANCH OUTLETS
       FALL WITHIN THE SCOPE OF THE ORDER IS REASONABLE, SUPPORTED
       BY SUBSTANTIAL EVIDENCE ON THE RECORD AND IN ACCORDANCE
       WITH LAW

       As instructed in the Remand Order, in its Remand Redetermination, Commerce

undertook a comprehensive analysis of each of the five factors set forth in 19 CFR 351.225(k)(2)

(i.e., (1) the physical characteristics of the product, (2) the expectations of the ultimate

purchasers, (3) the ultimate use of the product, (4) the manner in which the product is advertised

and displayed, and (5) the channels of trade in which the product is sold). Commerce considered



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and discussed with great level of detail the comments and supporting information submitted by

all interested parties in their initial and rebuttal comments. See Remand Redetermination at 10-

65. Taking into account the information provided by the interested parties, in its Remand

Redetermination Commerce explained why steel branch outlets are similar to unambiguously

covered BWPFs under each one of the (k)(2) criteria. Id. Furthermore, Commerce discussed

why, based on record information, it disagreed with Vandewater’s, SCI’s and SIGMA’s

arguments regarding the alleged purported differences between steel branch outlets and other

BWPFs, and why such distinctions failed to establish that the steel branch outlets are not similar

to unambiguously covered BWPFs. Id. at 44.

       Therefore, Island is in agreement with Commerce’s Remand Redetermination and its

finding that the steel branch outlets are covered by the BWPFs Order, and believes that

Commerce has fully complied with the Remand Order. Island Industries is also in agreement

with Defendant United States’ Response to the Comments on the Remand Results submitted by

Vandewater, SCI and SIGMA, which further bolsters the reasonableness of Commerce’s

Remand Redetermination.

V.     CONCLUSION

       Commerce properly conducted a detailed (k)(2) factors analysis to determine whether

Vandewater’s steel branch outlets fall within the scope of the BWPFs Order, and based its

determination on the information available on the record. In light of the foregoing, because the

role of the Court is to assess whether Commerce’s determination is reasonable given the

circumstances presented by the whole record (rather than conducting a (k)(2) analysis to

determine whether the steel branch outlets are covered by the BWPFs Order), the Court should

sustain Commerce’s Remand Redetermination finding that the steel branch outlets are covered

by the BWPFs Order. Remand Order at 2-3.


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                                        Respectfully submitted,

                                        /s/ Matthew J. McConkey
                                        MATTHEW J. MCCONKEY

                                        MAYER BROWN LLP
                                        1999 K Street, NW
                                        Washington, DC 20006
                                        (202) 263-3235

January 21, 2022                        Counsel for Island Industries




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              Certification of Compliance With Chambers Procedure 2(B)(1)

The undersigned hereby certifies that the foregoing brief contains approximately 1199

words, exclusive of the portions of the brief exempted from the word limitation. In

preparing this certificate of compliance, the undersigned has relied on the word count

function of the word processing system used to prepare the brief.

                                                           /s/Matthew J. McConkey

                                                           MAYER BROWN LLP

                                                           Counsel for Island Industries
